Case 2:25-mj-00624-CBB Document19 Filed 04/14/25 Pagelof1

IN THE UNITED STATES DISTICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
) Case No. 2:24 MJ 1297624
v. )
)
SHAWN MONPER )
PROBABLE CAUSE ORDER
AND NOW, this i4Th day of / p fi / , 2025, following a Preliminary

Hearing, the Court finds that probable cause exists which supports a finding that the alleged

crimes have been committed by the Defendant Shawn Monper.

BY THE COURT:

Nee <a / ;
United States Magistrate Judge if
